       Case 1:21-cv-03217-CJN Document 13-2 Filed 04/01/22 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

                                          )
MARK MEADOWS,                             )
                                          )
            Plaintiff,                    )
                                          )
      v.                                  )      Case No. 1:21CV3217 (CJN)
                                          )
NANCY PELOSI, et al.,                     )
                                          )
            Defendants.                   )
                                          )

             INDEX OF EXHIBITS TO FIRST AMENDED COMPLAINT

Exhibit A   Subpoena and Cover Letter to M. Meadows (9/23/21)

Exhibit B   Letter from G. Terwilliger to Select Committee (10/7/21)

Exhibit C   Letter from G. Terwilliger to D. Remus (10/11/21)

Exhibit D   Letter from Select Committee to G. Terwilliger (10/25/21)

Exhibit E   First Letter from G. Terwilliger to Select Committee (11/3/21)

Exhibit F   Second Letter from G. Terwilliger to Select Committee (11/3/21)

Exhibit G   Letter from Select Committee to G. Terwilliger (11/5/21)

Exhibit H   Letter from G. Terwilliger to Select Committee (11/8/21)

Exhibit I   Letter from Select Committee to G. Terwilliger (11/9/21)

Exhibit J   Letter from G. Terwilliger to Select Committee (11/10/21)

Exhibit K   Letter from Select Committee to G. Terwilliger (11/11/21)

Exhibit L   Letter from The White House to G. Terwilliger (11/11/21)

Exhibit M   Letter from G. Terwilliger to Select Committee (11/19/21)

Exhibit N   Letter from Select Committee to G. Terwilliger (11/22/21)
       Case 1:21-cv-03217-CJN Document 13-2 Filed 04/01/22 Page 2 of 2




Exhibit O   Letter from G. Terwilliger to Select Committee (11/26/21)

Exhibit P   Letter from M. Francisco to Select Committee (11/26/21)

Exhibit Q   Letter from Select Committee to G. Terwilliger (11/28/21)

Exhibit R   Letter from M. Francisco to Select Committee (12/3/21)

Exhibit S   Subpoena to Verizon (11/22/21) and Letter from Verizon to M. Meadows (12/2/21)

Exhibit T   Letter from G. Terwilliger to Select Committee (12/7/21)




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